CaSe 06- 90460- .]|\/| Filed 02/14/§71 §n@red @26|.4}1,07£13. 15. 14 DOC 6 PQ. 1 Of 21

UNITED STATES BANKRUPTCY APPELLATE PANEL
OF THE NINTH CIRCUIT

BAP NO.: SC-OG-ll32-MOSHK
SC-06-1063~MOSNK

(Consolidated)
BK NO.: 04-02787
A_DV NO.: 06-90460 F| LED
IIl re: JILL C DEUEL UEC 2 8 2006
PMRMDSNMB
Debtor mo AEN_{|’,§NCELERK
------------------------- ¢W"ENWUNMHHT

HAROLD S. TAXEL, Chapter 7 Trustee
Appellant

V.

JILL C. DEUEL; CHASE MANHATTAN BANK, U. S. A. N. A ; LAKE VIEW
CARLTON HILLS HOMEOWNERS ASSOCIATION; WILL 'I'. DEUEL

Appellee

JUDGMENT
é£r`iéééi\i“§£$r§f££§_{;§1§§§<§_§§§§§§"é$§}§££§§§§`é$§§§ `§§>L
the Southern District of California.
THIS CAUSE came on to be heard on the record from the
above court and was argued by counsel.
ON CONSIDERATION WHEREOF, it is ordered and adjudged by
this Panel that the judgment of the Bankruptcy Court is REVERSED

and REMANDED with directions to grant trustee's motion for summary

judgment and enter a judgment in favor of trustee.

FOR THE PANEL,

Harold S. Marenu
BANKRUPTCVAPPELLATE PA!\¢EL BAP Cl 6
OFTHE N|NTH C|RCUIT _

____
AFUBCMW By: Vincent J. Barbato
AU%U _ Deputy Clerk

" -»'W‘.’.‘i-~i- ;Si:§_l_.____.

 

 

CaSe 06-90460-.]|\/| Filed O2/14/O7 Entered O2/14/O7 13215:14 DOC 6 PQ. 2 Of 21

| FlLED

BANKRUPT YAPPELLATEPANEL

 

 

 

oFTH N|NTHcmculT DEC 28 2006
CRDERED PUBIISHED
HARoLD s. MARENus cLERK
usBmNJmRPMEL
§ OF THE N|NTH CIRCU|T
1 - 1
§ 1333 :_¢.:;.~;.m_ugy; “‘ t UNITED sTATEs BANKRUPTCY APPELLATE PANEL
,_ <.,_...4,,1~ w ‘5 oF THE NINTH cIRcUIT
5 __
6 In re: BAP Nos. SC-06~1132-MoSnK

SC~O6-1063-MOSHK

 

7 J;LL C. DEUEL, (Consolidated)
8 Debtor. Bk. No. 04-02787
9 Adv. No. 06~90460
10 HAROLD S. TAXEL, Chapter 7
Trustee,
Appellant,
12
v. O P I N I 0 N
13

CHASE MANHATTAN BANK, USA,

14 N.A.; JILL C. DEUEL; WILL T.
DEUEL; and LAKE VIEW CARLTON
15 HILLS HOMEOWNERS ASSOCIATION,

\_/Vv\/\/\_/\/\/V\_/\_/\_/V\_/\_/Vv\/V~_/\_/\_/

 

16 Appellees.
17 `“
18 Argued and Submitted on September 22, 2006
at Pasadena, California
19 Filed - December 28, 2006
20 Appeal from the United States Bankruptcy Court
21 for the Southern District of California
22 Honorable John J. Hargrove, Bankruptcy Judge, Presiding.
23

 

24 Before: MONTALI, SNYDER,1 and KLEIN, Bankruptcy Judges.

 

 

l Hon. Paul B. Snyder, Bankruptoy Judge for the Western
District of Washington, sitting by designation.

 

 

 

7case'06-'96460-31\“/1""`'“l'=il'écl 02/'14/0'7"' Ehtered 0271'21!07 1'3215:1‘4'~'““D‘oc'~€~~Pg:~s-of 21 »

z

1 MONTALI, Bankruptcy Judge:

3 One of the most powerful weapons in a bankruptcy trustee's

4 arsenal is the “strong arm” power of Section 544(a)(3)2 to recover
5 real property, subject to the same limitations that a bona fide

6 purchaser would have when acquiring that property from the debtor
7 outside of bankruptcy. Trustees for decades have defeated

8 unperfected liens and unrecorded transfers, all to the benefit of
9 unsecured creditors in bankruptcy.
10 The bankruptcy court rejected a trustee's attempt to exercise
11 that power, relying on a Ninth Circuit decision holding that a

12 petitioning creditor’s unrecorded lien that is described in an

13 involuntary bankruptcy petition operates as constructive notice

 

 

14 sufficient to defeat the trustee. ln re Professional lnvestment
15 Properties of America, 955 F.2d 623 (9th Cir. 1992) (“Professional
16 Investment”). But the court of appeals carefully limited its

17 decision to the effect of the petition in the involuntary case, as
18 distinguished from the schedules. Id. at 628 n.3, citing with

19 approval, ln re Gurs, 27 B.R. 163, 165 (9th Cir. BAP 1983)3

 

 

21 2 Unless otherwise indicated, all chapter, section and rule
references are to the Bankruptcy Code, 11 U.S.C. §§ 101-1330, and
22 to the Federal Rules of Bankruptcy Procedure, Rules 1001_9036, as
enacted and promulgated prior to the effective date of The

23 Bankruptcy Abuse Prevention and Consumer Protection Act of 2005,
Pub. L. 109-8, 119 Stat. 23, because the case from which this

24 appeal arises was filed before its effective date (generally
October 17, 2005).

3 Responding to the trustee's argument that information
26 received after the filing of the involuntary petition could not
affect his status, the court responded (in footnote 3):

This is true. In re Gurs, 27 B.R. 163 (9th Cir. BAP

28 1983) defined a § 544(a)(3) hypothetical bona fide

purchaser as one who is without actual knowledge “at the

instant the petition is filed,” and purchases property

from the debtor for value and in good faith.
(continued...)

_2_

 

 

 

 

case 06-90460-3"|\'/`|" File'd‘b`z`/l¢l/o? Enteked`02/14/07 13:15:121 Doc 6 Pg. 4of 21

10
11
12
13
14
15
16
17

18

 

 

Today we confirm that the trustee still has that powerful
weapon, concluding that information contained in schedules and the
statement of financial affairs filed in a voluntary bankruptcy
case is not subject to the Professional Investment rule, and
therefore is insufficient to defeat the trustee's power,
regardless of notice. Thus we reject the bankruptcy court’s
contrary holding, which could operate to eviscerate a well-
established avoiding power,

We also reject the bankruptcy court’s alternative use of
equitable subrogation to rescue a creditor that voluntarily
released its previous lien on the debtor’s property but neglected
to record its new lien. Eguitable subrogation would unduly
prejudice the debtor’s other creditors and the bankruptcy estate
and cannot override the trustee's statutory strong arm power.

Accordingly, we REVERSE.

I. FACTS

There are no material facts in dispute. ln 1999 debtor Jill
C. Deuel (“Debtor”) and her former spouse Will T. Deuel
(collectively, the “Deuels”) purchased a residence in Santee,
California (the “Property”). In 2001 they refinanced the Property
with a $122,400.00 loan secured by a recorded deed of trust that
was assigned to an affiliate of Chase Manhattan Bank USA, N.A.
(“Chase”) (the “Prior Deed of Trust”). On September 4; 2002, the
Deuels refinanced this debt with a new $136,000.00 loan from Chase

secured by a new deed of trust against the Property which by

 

 

3(...continued)
Conseguently, we will only discuss the ramifications of
the petition itself.

_3_

 

CaSe 06-90460-.]|\/| Filed O2/14/O7 Entered O2/14/O7 13215:14 DOC 6 PQ. 5 Of 21

10
11
12
13

14

 

 

mistake was not recorded (the “Unrecorded Deed of Trust”). The
Deuels used $121,170.79 of the new loan to pay off the balance of
the 2001 loan. The Prior Deed of Trust was reconveyed by an
instrument recorded on September 26, 2002.

Debtor filed her voluntary Chapter 7 bankruptcy petition that
commenced this case on March 26, 2004 (the “Petition Date”).
Harold S. Taxel was appointed as Chapter 7 trustee (“Trustee”).

With her bankruptcy petition Debtor filed her bankruptcy
schedules and statement of financial affairs (“SFA”) which
mentioned Chase's claim and alleged lien in several places. In
Schedule A (Real Property), she listed a “secured claim” of
$134,740.00 against the Property. ln Schedule D (Creditors
Holding Secured Claims), she listed a claim held by Chase with a
balance of $134,165.00, and stated: “Incurred: 2002, Lien: deed
of trust, Security: [the Property].” ln SFA item 3, she listed
prepetition payments of $1000 per month to Chase. Attached to her
SFA is a copy of her 2003 mortgage interest statement from Chase.

On October 26, 2004, Chase filed in the bankruptcy court a
Complaint to Quiet Title to Deed of Trust Against Real Property,
naming as defendants the Deuels, Trustee, and Lake View Carlton
Hi ls Homeowners Association (the “HOA”). Trustee filed a motion
to dismiss the complaint and in the alternative for summary
judgment. The Deuels filed joinders. Chase filed an opposition
and a cross-motion for summary judgment.

On January 5, 2005, the bankruptcy court held a hearing on
these various motions and stated:

the schedules filed with the petition

provide constructive notice to the trustee as a
bona fide purchaser of real property, that there

_4_

 

 

 

case 06-90460-Jl\/l l='iléi§l`>"b§/izl`/'d“?"`"""`"E”H`féié`d"`©`i/izi`/‘i‘)""?“`i§\:"i[s':`1"21“ """ *D“czc“€""" "F>'g';‘~6~~01‘“'2'1'-~~~'~~"-~~'

wl\)

10
ll
12

.)
l

14

 

 

 

was a secured claim out there

So it appears that, under the law of the Ninth
Circuit ~- and l guess most specifically the
circuit case is lin rel Professional Investment
Properties of America [955 F.2d 623 (9th Cir.
1992)] -- that the trustee in this case was on
constructive notice that this security interest
existed; and therefore under the law of the
circuit, he is unable to set aside the lien, so to
speak, or take priority over the bank under Section
544(a)(3).

Transcript Jan. 5, 2005, pp. 3:22-4:15.

The bankruptcy court also ruled in favor of Chase on grounds
of equitable subrogation, Chase's alternative basis for relief.
Chase argued that it was equitably subrogated to the (released)
lien created by the Prior Deed of Trust. The bankruptcy court
stated that all the elements of equitable subrogation appeared to
be satisfied. Among other things:

[T]here is case law out there . . . l think it was
a case out of Hawaii that was cited by the
[T]rustee [ln re Christie-Peguignot, 2003 WL
22945921 (Bankr. D. Hi. October 24, 2003), aff'd
BAP No. HI-03-1563-KMOB (9th Cir. BAP August 11,

2004)], showing that even if there is neglect, as
long as there is no injustice to the [T]rustee or

the other creditors -- in other words, they’re not
worse off ~- then the equitable subrogation would
apply-

As the bank points out, under equitable
subrogation the [T]rustee and the creditors would
be better off to the tune, l think, of about
$15,000, because the bank would only step into the
shoes, so as to speak, of the original Chase loan,
and as 1 recall, that was about $15,000 less than
the loan which is the subject of this adversary
proceeding. l guess there were some additional
charges.

. So if the doctrine of equitable
subrogation applies, Chase is only subrogated to
the amount of 122,400 and not the new amount of a
hundred and thirty-six. So there clearly is

 

 

case 06-90460-3|\/| l=ile"`e`l\15“271`4'/"6?7 Entered 02/14/07 13:15:14 Doc 6 Pg. 7 of 21

wl\)

10

11

 

 

benefit to the trustee and the creditors.[q] But
it does appear that equitable subrogation does
apply, and l would find ~- l would also grant the
summary judgment in that regard for the bank.
Transcript Jan. 5, 2005, pp. 9:25-11:1 (emphasis added).

The bankruptcy court entered an order denying defendants’
motions and granting Chase's cross-motion for summary judgment and
thereafter issued a judgment in favor of Chase. Both the order
and the judgment state that the defendants “have no right, title,
interest or lien in or to the Property senior to the lien/security
interest of [Chase] under the [Unrecorded] [D]eed of [Tlrust.”

Trustee filed timely notices of appeal from both the order
(SC-06-1063) and the judgment (SC-06_1132) and on his application
we consolidated the two appeals. The notices of appeal were
served on both of the Deuels and the HOA and name them as parties,
but they have not participated in this appeal.

II. ISSUES

A. ls Trustee’s status as a hypothetical bona fide
purchaser under Section 544(a)(3) defeated by constructive or
inquiry notice of Chase's Unrecorded Deed of Trust from Debtor's
bankruptcy schedules and SFA?

B. Does the doctrine of equitable subrogation apply?

III. JURISDICTION

The bankruptcy court had jurisdiction under 28 U.S.C.

 

4 We read the bankruptcy court’s comments about Trustee and
creditors receiving a “benefit” and not being “worse off” to mean
that it believed the bankruptcy estate was better off with Chase
having a lien of $122,400 instead of 8134,165. This appears to
assume that Chase would otherwise be entitled to a lien of
$134,165, which we reject below. Without any Chase lien, the
estate is obviously “better off.”

_6_

 

 

 

 

case 06-90460-Jl\/l Fi`led' 02/121/6?""'”""`EHt"é'réd"”6"’2712176"7""13‘”:'1531'"4" D"c)‘c~:raw''“PQ":'“8"‘01“'21''"m

1 § 157(b)(2)(K). We have jurisdiction under 28 U.S.C. § 158(c).

2 IV. STANDARDS OF REVIEW

3 We review de novo the bankruptcy court’s rulings on the

4 cross~motions for summary judgment and the motion to dismiss. in

5 re Garske, 287 B.R. 537, 541 (9th Cir. BAP 2002) (summary

6 judgment); ln re Laizure, 349 B.R. 604, 606 (9th Cir. BAP 2006)
7 (motion to dismiss complaint).

8 Although there is usually a factual question whether a

9 purchaser has inquiry or constructive notice (Professional

 

10 lnvestment, 955 F.2d at 626) we believe that the bankruptcy court
ll properly treated as a legal question whether a debtor’s bankruptcy
12 schedules impart constructive or inquiry notice. Qf; ln re Kim,
13 161 B.R. 831, 836-37 (9th Cir. BAP 1993) (whether legally

14 defective abstract of judgment gave constructive or inquiry notice
15 was not a factual issue precluding summary judgment).

16 ln the circumstances of this case, whether to apply the

17 doctrine of equitable subrogation may also be an issue of law that
18 we review de novo. §§e Mort v. U.S., 86 F.3d 890, 893 (9th Cir.
19 1996) (deciding equitable subrogation issue, which district court
20 had declined to decide, when “facts are undisputed and further

21 factfinding is unnecessary”). We do not decide the proper

2 standard of review because we would reach the same result on the

 

23 equitable subrogation issue were we to review it for abuse of
24 discretion. §ee U.S. v. Avila, 88 F.3d 229, 239 n. 12 (3d Cir.
25 1996) (assuming without deciding that application of equitable
26 subrogation doctrine is reviewed for abuse of discretion). §§e

7 also Dieden v. Schmidt, 128 Cal.Rptr.2d 365, 372 (2002) (stating,

28 in a case involving equitable subrogation, “Summary judgment

_7_

 

 

case 06-90460-Jl\/l liiled 02/14/07 Emered 02/14/07 13:15':14 Doc 6 Pg. 9 of 21

14
15

16

 

 

 

motions usually raise matters of law, but not when the trial court
grants or denies such a motion on the basis of equitable
determinations. The matter then becomes one of discretion, which
this court reviews under the abuse of discretion standard.”)
(citation omitted).
V. DISCUSSION
A. Trustee’s strong arm power arises “as of the
commencement of the case,” before there can be any
constructive notice from Debtor's bankruptcy schedules

Chase makes no arguments against Trustee’s strong arm power
other than its reliance on Professional lnvestment and on
equitable subrogation. The single question presented in this
section of our discussion, therefore, is whether Professional
lnvestment compels us to affirm.

Professional Investment acknowledges both the power of and
limitations on the trustee's strong arm power. On the one hand,
the trustee's status as a hypothetical bona fide purchaser is
“without regard to” any actual knowledge of the trustee or of any
creditor. ll U.S.C. § 544(a)(3). On the other hand, the trustee
only obtains those rights that a hypothetical purchaser without
actual knowledge could have obtained under applicable law at the
time the bankruptcy is commenced. Professional lnvestment, 955

F.2d at 627 (following McCannon v. Marston, 679 F.2d 13, 17 (3d

Cir. 1982)); ln re Weisman, 5 F.3d 417, 420-21 (9th Cir. 1993).
Thus “[a] trustee does not become a hypothetical bona fide

purchaser if she [or he] has been put on constructive or inquiry
notice.” Professional Investment, 955 F.2d at 627. See also 5 A.

Resnick & H. Sommer, Collier on Bankruptcv 11 544.03, 544.08,

 

 

 

` case 06-90460-Jl\/l Filed 02/14/67 Ehtéred 02/14/07 13:15:14 Doc 6 Pg. 10 of 21

 

 

 

pp. 544-9 et seq (“Collier”) (trustee deemed to have conducted
title search and is subject to constructive or inquiry notice).5
ln this case the timing of any constructive or inquiry notice
is critical. The bankruptcy court held that Trustee had
constructive notice of Chase's Unrecorded Deed of Trust from
Debtor's bankruptcy schedules. We hold that whatever the Trustee
learned from the schedules and SFA came too late and is
irrelevant.
Section 544(a)(3) provides:
(a) The trustee shall have, as of the commencement
of the case, and without regard to any knowledge of
the trustee or of any creditor, the rights and
powers of, or may avoid any transfer of property of

the debtor or any obligation incurred by the debtor
that is voidable by --

ic J< >‘<

(3) A bona fide purchaser of real property,
other than fixtures, from the debtor, against
whom applicable law permits such transfer to
be perfected, that obtains the status of a
bona fide purchaser and has perfected such
transfer at the time of the commencement of
the case, whether or not such a purchaser
exists.

11 U.S.C. § 544(a)(3) (emphasis added).

A case is “commenced” by the filing of a petition. 11 U.S.C.
§§ 301(a), 302(a), 303(b); Fed. R. Bankr. P. 1002(a). Thus the
bankruptcy trustee has the status of a bona fide purchaser “at the
instant the petition is filed.” Professional lnvestment, 955 F.2d
at 628 n. 3 (quoting ln re Gurs, 27 B.R. 163, 165 (9th Cir. BAP
1983)). As the Ninth Circuit recognized in Professional

lnvestment, “any information or notice which [the trustee]

 

5 This discussion will refer to constructive or inquiry
notice interchangeably. No party has suggested that there is any
difference for purposes of this appeal.

_9_

 

 

Case'oe-‘Qozleo-Jl\/l `I=iléd'b`é/‘izi/O`?" Ehféié\d"`d"z"/”i¢l/o? 13:15:14 Doc 6 Pg. 11 of 21

27

28

 

 

 

 

attained after that period [i.e., after the filing of the

 

petition] did not bear on his status as a bona fide purchaser at
the time of filing.” Professional Investment, 955 F.2d at 628 and
n. 3 (emphasis added).6

The bankruptcy schedules, SFA, and other required documents
cannot be filed until there is a case in which to file them. As

II

the applicable rules state, they must be filed “[i]n a case.
Fed. R. Bankr. P. lOO7(a)-(c). §ee In re Castro, l58 B.R. l80,
183 (Bankr. C.D. Cal. 1993) (“The filing of a voluntary petition,
not the schedules, commences the case.”). See also Harvey, 222
B.F. at 895 nn. ll-l2 (noting trustee's argument that bankruptcy
schedules “are deemed filed after the filing of the petition that
commences a bankruptcy case,” but not deciding issue because other
argument was dispositive) (emphasis in original).

ln some cases (including this one) the bankruptcy schedules
and other documents are presented for filing with the petition.
That does not make them the same document, as evidenced by the
separate Official Forms for each of them. Compare Official Forms
l (voluntary petition) and 5 (involuntary petition) withl e.g.,
Official Forms 6, 6A through 6J, and 7 (bankruptcy schedules and
SFA). See also Castro, 158 B.R. at 183 (“[T]he petition and the

schedules are separate documents.”). Indeed, the Federal Rules of

 

6 The Ninth Circuit was applying Washington state law and
this case involves California law but no party has cited any
authority that this makes any difference or that notice after the
filing of the petition would be sufficient to defeat Trustee’s
status as a bona fide purchaser in this case. See Professional
lnvestment, 955 F.2d at 627 (bona fide purchaser must be without
notice “prior to his acquisition of title”) (emphasis added,
citation omitted); Wash. Rev. Code § 65.08.070 (race notice
statute); ln re Harvey, 222 B.R. 888, 893 (9th Cir. BAP l998)
(applying California law); Cal. Civ. Code §§ l9 (constructive
notice generally), 1213 (constructive notice re real property),
and l2l4 (race notice statute).

_lO_

 

1,»».~».==~.<-,»-_”1¢., .1, ., {, _

v ¢~ .»__._..,._(..,~».»~..,rm:az.,.;¢awg*/ ‘ ;;;,.¢:»,:»<\~ ' - -¢

’3
L

’?
L

24
25
26
27

28

 

 

caseo@§o¢i€oal\/lnled 62"'/"1`21`/0"`7" """""`E’rit""éréd 0'2`/121/0‘7"‘1§1‘5':14 " 'D'cs'c““e'*""'P‘g':“'1 2 of 21

Bankruptcy Procedure specifically provide that most required
documents can be filed up to 15 days after the petition. §§e Fed.
R. Bankr. P. 1007(b) and (c).

For these reasons we hold that the bankruptcy schedules, SFA,
and other required documents can only be filed after the petition,
even if all these documents are physically presented to the clerk
for filing together or if, as in this case, they are
electronically combined into a single electronic file and
transmitted onto the bankruptcy court’s docket as such. All the
pages of the documents might reach the court at essentially the
same instant, but conceptually the case must be commenced before
the bankruptcy schedules, SFA, and other required documents can be
filed in that case. Therefore, by definition, these documents
cannot provide constructive notice “as of the commencement of the
case.” Any constructive or inquiry notice from Debtor's
bankruptcy schedules and SFA came too late to defeat Trustee’s
strong arm power under Section 544(a)(3).

Nothing in Professional lnvestment holds otherwise. The

Ninth Circuit stated, “This case turns on whether the petition

itself put the trustee on sufficient inquiry or constructive

notice of [the creditors’] prior security interest” and “we will
only discuss the ramifications of the petition itself.”
Professional lnvestment, 955 F.2d at 627 and 628 n.3 (emphasis
added). In that case the petition itself did give notice: it was
an involuntary petition and in the space provided for describing
his claim one of the petitioners stated that his claims were
“supposedly secured by assignments of Deeds of Trust . . _ in the

aggregate amount of approximately $137,500.” Id. at 628 (quoting

w:I_]__

 

7 ' "`ciésé 6

 

 

\;\\;'\.»_r\i`xt\\m;.:;\.uwu:=.\=‘..~.;\i~.:‘:1,-,¢.»;\;;.... :a\. _,>

6-90460-3|\/| l‘=ilé'éjwé‘§/iéf/B?W "'"`l§"r`ifé}éd"0`2/1`21`/`6"7""'1§‘:"15`:"121"`”"'1`)“6`¢`6 "`F>`g.' 1§“6f "21

involuntary petition). In this case the petition is voluntary and
there is not even a space on the form to give any notice of
Chase's Unrecorded Deed of Trust. §§e Official Form 1 (voluntary
petition). Trustee had no constructive or inquiry notice of
Chase's purported lien from the voluntary petition. Accordingly,

Professional Investment does not compel us to defeat Trustee’s

strong arm power. See 1n re Thomas, 147 B.R. 526, 531 n. 8 (9th
Cir. BAP 1992) (“ln this case, unlike Professional Investment

 

Properties, the petition made no mention of [the alleged
constructive trust interest] in the property”), aff;d, 32 F.3d 572
(9:h Cir. 1994) (table).7

Our holding is reinforced by the fact that Chase's reading of
Professional lnvestment could lead to arbitrary results or abuse.
If a debtor’s bankruptcy schedules happen to be filed after the

trustee is appointed -- as often occurs in voluntary Chapter 7

cases because of the 15 day grace period for filing bankruptcy

 

7 Trustee argues that Professional lnvestment is contrary to
the plain meaning of the statute. lt is true that much of the
Ninth Circuit’s discussion focused on the time at which the
trustee in that case was appointed, and that appears to be
irrelevant under the statute which focuses on the time of
“commencement of the case,” 11 U.S.C. § 544. Perhaps the court
did not focus on the fact that a hypothetical bona fide purchaser
is just that -~ hypothetical -- so the time of his actual
appointment is irrelevant. See Professional Investment, 955 F.Zd
at 628 (“A trustee who has not yet been appointed can hardly argue
that he has been prejudiced by being charged with notice by the
petition”) and 629 (“the trustee had a duty to inquire as to the
nature of the [creditors’] claim once he was appointed”) (emphasis
added). See also ln re Wohlfeil, 322 B.R. 302, 305-06 (Bankr.
E.D. Mich. 2005) (criticizing Professional lnvestment as contrary
to plain meaning of statute). We do not ignore binding precedent
nor do we speculate further. We simply construe Professional
1nvestment to be limited in its application to an involuntary
petition wherein the petitioning creditor asserts its lien. We
express no opinion as to the outcome in any future case wherein a
voluntary petitioner departs from Official Form 1 and inserts
information about a creditor.

_12_

 

 

 

`;‘i',»`. 1 '\`-\‘A‘.\J 'A: ‘v\x’.\'v\i’.\v

Case 06

lO

12

21
22

23

l\) l\)
(_)`\ »l>~

(\d
O\

28

 

 

schedules in Fed. R. Bankr. P. 1007(c) -- then presumably there is
no constructive notice. See Castro, 158 B.R. 180 (no constructive

notice when trustee was appointed before schedules were filed).
Likewise, if the bankruptcy schedules happen not to describe the
unperfected claim adequately then there is no constructive notice.

See Harvev, 222 B.R. at 895 (vague and inconsistent bankruptcy

 

schedules “did not necessarily imply” ownership interest and
therefore did not impart constructive notice). A debtor might
even take advantage of the situation to favor or disfavor one
creditor over others by adjusting the content of the bankruptcy
schedules or the time when they are filed.

In sum, Debtor's bankruptcy schedules and SFA have no bearing
on Trustee’s strong arm power. They were filed after “the
commencement of the case” so any constructive or inquiry notice of
Chase's Unrecorded Deed of Trust came too late to defeat Trustee’s
statutory power as a hypothetical bona fide purchaser under
Section 544(a)(3).

B. Eguitable subrogation

The bankruptcy court held in the alternative that Chase could
defeat Trustee's strong arm power under Section 544(a)(3) using
the doctrine of equitable subrogation, up to the dollar amount of
the lien under its released Prior Deed of Trust. The bankruptcy
court held that Trustee and Debtor's creditors would not be “worse
off” and there was no “injustice” from applying the doctrine.
Again, we disagree.

Subrogation is a derivative right whereby one party is
substituted in the place of another with reference to a lawful

claim, demand, or right, ln re Hamada, 291 F.3d 645, 649 (9th

_13_

 

 

» case 06-90216043|\/|" `°Fi'led0’2/`1"!4’""/6'7'"""""E`n`tér"éd"027121“`/67 1§:15:14 Doc 6 Pg. 15 of 21

(fi

6

20

 

 

 

Cir. 2002). Equitable subrogation is a legal fiction and because
it is a creature of equity it “is enforced solely for the purpose
of accomplishing the ends of substantial justice.” Hamada, 291
F.3d at 649 (citation omitted). The doctrine is governed by state
law and one of the requirements of California law is that its
application must “not work an injustice to the rights of others.”
Golden Eagle Ins. Co. v. First Nationwide Fin. Corp., 31
Cal.Rptr.2d 815, 821 (1994); Hamada, 291 F.3d at 651 (same); M.
Lilly, Subrogation of Mortgaqes in California: a Comparison with
the Restatement and Proposals for Chanqe, 48 UCLA L. Rev. 1633,
1660-61 at n. 120 and accompanying text (2001).

Equitable subrogation “allows a person who pays off an
encumbrance to assume the same priority position as the holder of
the previous encumbrance.” Mgrt, 86 F.3d at 893. Even a canceled
lien can be revived, but not if “the superior or equal equities of
others would be prejudiced thereby.” Lawvers Title Ins. Corp. v.
Feldsher, 49 Cal.Rptr.2d 542, 546 (2d Dist. 1996) (citation and
italics omitted). For example, the holder of a junior lien or
interest is generally put in no worse situation if a third party
whc pays off the senior debt is equitably subrogated to the senior
lien’s priority. The junior lien or interest holder did not rely
on the absence of the senior lien when it first extended credit or
transferred value, and would receive a windfall if the doctrine
were not applied. MQ;;, 86 F.3d at 895.

This case is different. Trustee as a hypothetical bona fide
purchaser is deemed to have given value for the Property without
any knowledge of Chase's Unrecorded Deed of Trust and in reliance

on the real estate records. Gurs, 27 B.R. at 165; 5 Collier

_14._

 

".¢

.. .1,4 _.- ._ _._, .__ ., .,,_.._,.,, ~,¢¢-»=,~,»¢-i»_-»M__,,,,,W‘”.._;.._}

 

 

 

 

case 06-90166-3|\/| Filed 027121/67 Entered 02/14/07 1§:15:14 ' Doc 6 Pg. 16 of 21

b.)¥\)

 

 

I 544.08, text accompanying n. 5, p. 544~16.2. As established in
the previous section of our discussion Trustee had no constructive
or inquiry notice of the Unrecorded Deed of Trust. Moreover,
Chase had recorded a reconveyance of its Prior Deed of Trust and
Trustee is deemed to have relied on that reconveyance. §§§ §ir§;
Fidelitv Thrift & Loan v. Alliance Bank, 71 Cal.Rptr.2d 295 (1998)
(subsequent mortgagee could rely on mistakenly recorded release).

California courts have held that the equities favor a bona
fide purchaser over one asserting equitable subrogation. §§§ QL
G. Boswell Co. v. W. D. Felder & Co., 230 P.2d 386, 389 (1951)
(rejecting application of equitable subrogation as against bona
fide purchaser); 58 Cal. Jur. 3d, Subrogation § 7 (2006), text
accompanying nn. 10*13 (“subrogation will not be allowed where it
woild work an injustice to the rights of others and does not lie
against an innocent person, as where it would jeopardize or defeat
intervening rights, including those of bona fide purchasers
without notice”) (emphasis added).

The same result has been reached under the laws of other
states. See ln re Zaptock , 250 F.3d 1020, 1028 (6th Cir. 2001)
(under Ohio law, “the doctrine of equitable subrogation does not
apply against a bona fide purchaser without knowledge”); ln re
Bridqe, 18 F.3d 195, 204 (3d Cir. 1994) (trustee prevailed over
creditor who was attempting to rely on its own previously released
lien under equitable subrogation doctrine, applying New Jersey
law).

We can conceive of circumstances in which the equities might
favor application of the doctrine of equitable subrogation, but

Chase has alleged no such circumstances. See ln re Reasonover,

_15_

 

 

 

' " ease 06-9046'0§31§7|`“ l=`i`lé‘d"`»`627121`/67'""l§hie?`e“d‘b2714/07 1§:15:14 Doc 6 Pg. 17 of 21

F‘\)

\J

~r»

 

 

 

236 B.R. 219, 225-233 (Bankr. E.D. Va. 1999) (under Virginia law,
when deed of trust had not yet been released as of petition date,
trustee as bona fide purchaser took property subject to mortgage
company's equitable subrogation claim), remand after appeal, 238
F.3d 414 (4th Cir. 2000) (table), on remand, 2001 WL 1168181
(Bankr. E.D.Va. 2001).

Trustee's status as a bona fide purchaser is not simply a
legal technicality. lt serves “one of the strongest policies
behind the bankruptcy laws” -- the policy of ratable distribution
among all creditors. ln re Seawav Exp. Corp;j 912 F.2d 1125, 1129
(9th Cir. 1990) (citation omitted) (avoiding creditor’s inchoate
equitable interest in real property when creditor had taken no
steps to provide actual or constructive notice to subsequent bona
fide purchasers). As stated in Christie-Pequignot, 2003 WL
22945921 at *5, a creditor holding a valid and perfected lien is
entitled to preferential treatment but granting such treatment to
an unperfected lien “would come at the expense of other creditors
and would be unjust to the other creditors.” See also Hamada, 291
F.3d at 653 (rejecting equitable subrogation as applied to
nondischargeability judgment because creditor seeking subrogation
made “no claim that [debtor] committed fraud against [creditor]
that would entitle it to preferential treatment over other
creditors to whom [debtor] owes money”).

lt would be inequitable to apply the legal fiction that Chase
had never released its Prior Deed of Trust, thereby giving it`
nearly the full value of the Property and depriving Debtor's other
creditors of a pro rata share of that value. Congress has

determined as much by giving Trustee the status of a bona fide

__16_

 

,,';.< 1, _»,.»=,`/;,, m:,.,.,p 4

-=»,,,-¢;¢;»~2 ,:,¢,,

il _, _..,w.~._.”,",¢.»¢¢u.~’-'~

 

“'c'a§é 06-§621`66:`31\/1` F116602/14/07""§`61£`6'?6’6""62“/"121"/07 "1§“:16:"1`21* D“'oc'-66160f21

1 purchaser under Section 544(a)(3). Chase cannot defeat Trustee's
2 statutory strong arm power based on equitable subrogation.8
3 VI. CONCLUSION

4 Section 544(a)(3) grants the bankruptcy trustee for the

5 benefit of all creditors the rights of a bona fide purchaser of

6 the real property “as of the commencement of the case,” A

7 debtor’s bankruptcy schedules and other required documents cannot
8 be filed until there is a case in which to file them, so by

9 definition they cannot impart any constructive or inquiry notice
10 until after commencement of the case. Nothing in Debtor's

11 bankruptcy schedules or SFA has any bearing on Trustee’s statutory
12 strong arm power to avoid Chase's Unrecorded Deed of Trust.

13 Nor is Trustee’s statutory strong arm power defeated by the
14 doctrine of equitable subrogation. That doctrine is only applied
15 when it will not work an injustice to the rights of others, and if
16 Chase received the entire value of the Property based on its

17 released Prior Deed of Trust rather than sharing pro rata with

18 other creditors that would work an injustice.

19 The judgment in favor of Chase is REVERSED and the case is
20 REMANDED with directions to grant Trustee's motion for summary

21 judgment and enter a judgment in favor of Trustee.

 

27 .

8 We do not address the other elements of equitable
28 subrogation because Trustee has not argued that those elements are
unsatisfied.

_17_

 

 

 

CaSe 06-90460-.]|\/| Filed 02/14/07 Entered 02/14/07 13215:14 DOC 6 PQ. 19 Of 21

U.S. Bankruptcy Appellate Panel
of the Ninth Circuit
125 South Grand Avenue, Pasadena, California 91105
Appeals from Central California (626) 229-7220
Appeals from all other Districts (626) 229-7225

BAP NO.: SC~06-1132-MOSHK & SC-06-1063-MOSHK (COnSOlidated)

RE: JILL C. DEUEL
A separate Judgment was entered in this case on DECEMBER 28, 2006.

BILL OF COSTS:

Bankruptcy Rule 8014 provides that costs on appeal shall be taxed by the
Clerk of the Bankruptcy Court. Cost bills should be filed with the Clerk
of the Bankruptcy Court from which the appeal was taken.

9th Cir. BAP Rule 8014-1

ISSUANCE OF THE MANDATE:

An appeal to the Ninth Circuit Court of Appeals is initiated by
filing a notice of appeal with the Clerk of this Panel. The Notice
of Appeal should be accompanied by payment of the $455 filing fee

and a copy of the order or decision on appeal. Checks may be made
payable to the U.S. Court of Appeals for the Ninth Circuit. See
Federal Rules of Appellate Procedure 6 and the corresponding Rules of

CaSe 06-90460-.]|\/| Filed 02/14/07 Entered 02/14/07 13215:14 DOC 6 PQ. 20 Of 21

CERTIFICATE OF M.AILING

The undersigned, deputy clerk of the U.S.
Appellate Panel of the Ninth Circuit, hereby certifies that a copy

of the document on which this certificate appears was mailed this date
to all parties of record to this appeal.

Bankruptcy

By: Vincent J. Barbato
Deputy Clerk: December 28, 2006

CaSe 06-90460-.]|\/| Filed 02/14/07 Entered 02/14/07 13215:14 DOC 6 PQ. 21 Of 21

CASE NAME: JILL C. DEUEL
BAP NO: SC-O6-1l32-MOSHK and SC-O6-ll32-MOSHK (COHSOlidated)

Bk. NO: 04-02787-JH7 Adv. NO: 06-90460

PROOF OF SERVICE MANDATE

 

A certified copy of the attached judgment was sent to:
CLERK
U.S. BANKRUPTCY COURT

at Jacob Weinberger Courthouse
325 West "F" Street

San Diego, CA 92101

On 1/31/07

By: Edwina Clay
Deputy Clerk

Date: January 31, 2007

